Case 7:19-mj-02502 Document1 Filed on 10/15/19 in TXSD Page 1 of 2
United States District Court
Southern District Of Texas

 

AO 91 (Rev. 11/11) Criminal Complaint FILED
UNITED STATES DISTRICT CouRT OCT 19 2019
for the David J. Bradley, Clerk

Southern District of Texas

 

 

 

United States of America ) mM
Vv. ) oS SO on
—
VALENCIA, Leonel, YOB: 1988, MEX Case No. mWA4
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 14, 2019 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
21 USC 846, 841 (a) (1) Knowingly and Intentionally Conspire to Possess with Intent to Distribute

approx. 7.65 kgs of Cocaine, a Schedule I! Controlled Substance.

Knowingly and Intentionally Possess with Intent to Distribute approx. 7.65 kgs
of Cocaine, a Schedule I! Controlled Substance.

This criminal complaint is based on these facts:

See Attachment "A".

@ Continued on the attached sheet.

 

 

Approved by AUSA J.B1PLAZZA wf1S114 F:S3am Complainant’s signature
AN; Puan DEA Special Agent Federico Adame, Jr.
Printed name and title

Sworn to before me and signed in my presence.

Date: 10/15/2019 AL fp
: ‘Judge's signature
City and state: McAllen, Texas cot/Hacker, U.S. Magistrate Judge
t~ / Printed name and title
Case 7:19-mj-02502 Document1 Filed on 10/15/19 in TXSD Page 2 of 2°

Attachment A

On October 14, 2019, DEA Agents executed a search warrant at 1313 W. Heron Ave., McAllen,
Texas. During the search warrant, Leonel VALENCIA was apprehended outside of the
residence as he attempted to evade through the rear of the property.

DEA Agents discovered approximately 7.65 kilograms of suspect cocaine inside the residence.
Agents discovered VALENCIA to have a large undetermined amount of currency on his person.

' Agents read VALENCIA his Miranda Warnings in which VALENCIA voluntarily waived his

rights. VALENCIA provided a statement and told Agents that he personally knew that the 7.65
kilograms of cocaine were inside the residence. VALENCIA told Agents that he was staying at
the residence to watch over the narcotics until they were picked up and delivered to another
location. .

The seven (7) bundles, with an approximate weight of 7.65 kilograms, field tested positive for
the properties and characteristics of cocaine.
